Case 2:04-cr-20059-.]PI\/| Document 74 Filed 06/08/05 Page 1 of 3 Page|D 90

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. O_(-Le &xQS?-Ml

(60-Day Continuance)

Mmj HJ'MYE{BJVL,

 

 

00\3‘”‘T
`l¢jPEN
\¢\\.\=.o ‘ g og
DATE" '.oOm“

 

0
1““3¢¢*:£:;§§§;::::;
\N\T\N-S"

 

\_¢\_/\_/~_/`_»-__»~__~\_¢~_/\_/v\_l\_/~_/~_/~__/~__r~_/~_»

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Julv 22, 2005, with trial to take place on
the August, 2005, rotation calendar With the time excluded under
the Speedy Trial Act through August 12, 2005, Agreed in open

court at report date this 8th day of June, 2005.

e docket heat 1r1 compliance

f

Thsdocwnmnememdonn1 f
with Hu\e 55 and/or 32('0) FRCrP on

44

Case 2:04-cr-20059-.]PI\/| Document 74 Filed 06/08/05 Page 2 of 3 Page|D 91

so oRDERED this ach day of June, 2005.

.Q m ilth

 

JON PHIPPS MCCALLA
U'NI ED S'I'ATES DIS'I`RICT JUDGE

,/ f
@,,,;/M/

Assistant United States Attorney

(MI>W

/M S"IT»Nch,l-'b

 

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:04-CR-20059 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--111

Honorable J on McCalla
US DISTRICT COURT

